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                   UNITED STATES DISTRICT COURT
                              DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,                       CR No. 22-00048-TMB-NC

                                                 UNITED STATES’ REPLY IN
                       Plaintiff,                SUPPORT OF MOTION IN
            v.                                   LIMINE NO. 6: TO PRECLUDE
                                                 AN IMPROPER ADVICE OF
 KEITH MITSUYOSHI KANESHIRO (1),                 COUNSEL DEFENSE
 DENNIS KUNIYUKI MITSUNAGA (2),
 TERRI ANN OTANI (3),
 AARON SHUNICHI FUJII (4),
 CHAD MICHAEL MCDONALD (5),
 SHERI JEAN TANAKA (6),

                       Defendants.



       In their opposition briefs, Defendants make no effort to analyze the advice of

 counsel elements. That is because they cannot meet them. Even assuming the truth

 of everything they say in their briefs, their facts would not merit an advice of

 counsel instruction. They should be prohibited from invoking an advice of counsel
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 defense—including in opening statement—unless and until all foundational

 prerequisites are met.

       1.     At trial, the United States will prove that Defendant Sheri Tanaka was

 present at MAI on November 10, 2011, the day Laurel Mau was fired. She is on

 videotape.1 The tape shows Tanaka, Defendant Terri Otani, and others, banishing

 Mau from her workplace of fifteen years. “Laurel, just leave now,” demands Otani

 in the video; “we’re going to have to ask you to leave at this time,” says a stern

 Tanaka. When not giving commands to Mau, Tanaka is chatty and gleeful. That

 day was the beginning of MAI’s six-year harassment campaign against Mau,

 which included a false police referral, a false referral to the Hawaii Tax Division,

 and a malicious prosecution purchased from Keith Kaneshiro. Three years after

 Mau’s firing, Tanaka, Defendant Chad McDonald, and Otani all went to court to

 watch Mau’s arraignment. Then they waited outside the courtroom to snap pictures

 of Mau as she left—photo proof that MAI had vanquished Mau at last.

       The point is that Tanaka is not a disinterested counsel—her “advice,” if any,

 and whatever it was, does not count to earn the defendants an advice-of-counsel

 instruction. See United States v. Shewfelt, 455 F.2d 836, 839 (9th Cir. 1972);

 United States v. Carr, 740 F.2d 339 (5th Cir. 1984); United States v. Urfer, 287

 F.3d 663, 664 (7th Cir. 2002) (“If unreasonable advice of counsel could

 automatically excuse criminal behavior, criminals would have a straight and sure
 1
  For some reason, MAI videorecorded Laurel Mau during her final minutes in the
 office. The United States has obtained a copy of that recording.
                                           2
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 path to immunity.”); United States v. Martorano, 767 F.2d 63, 66 (3d Cir. 1985)

 (“defense based on good faith reliance on an attorney’s advice requires . . .

 retention of counsel for advice and not to ensure the success of the fraudulent

 scheme.”).

       2.     Defendant McDonald fails to engage with the “advice of counsel”

 requirements—he does not analyze any of the elements. Instead, he points to a

 single fact in a six-year sea of facts to claim advice of counsel.2 That fact is not that

 he consulted a disinterested, unbiased attorney, disclosed all material facts to that

 attorney, sought guidance as to the legality of a course of action, and strictly

 followed the attorney’s advice. Rather, the sole fact he highlights is that Tanaka

 wrote his declaration supporting Laurel Mau’s felony information and “assured

 him of its accuracy[.]” ECF No. 516 at 4. Based on that, McDonald claims “he

 relied upon her advice that it was appropriate to sign it.” Id.; but see United States

 v. Roti, 484 F.3d 934, 935 (7th Cir. 2007) (“But Roti does not contend that Werth

 assured him that concealing assets and lying to the court would be lawful.”).

       In other words, McDonald appears poised to claim the oldest defense in the

 book: she did it, not me. He can argue that. He can claim he did not read his

 declaration or confirm the facts contained in the declaration (which he signed


 2
   For instance, McDonald overlooks his (and his wife’s) donations to Kaneshiro,
 which were made in obvious batches with other defendants and MAI employees. In
 sworn testimony, McDonald has denied discussing contributing to Kaneshiro with
 anyone at MAI. In other words, it was just a coincidence that various MAI-
 affiliated donors started sending money to Kaneshiro’s campaign on similar dates.
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 under penalty of perjury and which was used to strip away Laurel Mau’s liberty).

 But signing a declaration Tanaka wrote is not “advice of counsel”—it is not even

 legal advice. None of the requirements for advice of counsel are established.

       Furthermore, as a factual matter, McDonald testified in the civil trial

 between Mau and MAI to things contained in his declaration. For example,

 McDonald’s declaration includes the following table purporting to show evidence

 of Mau’s “fraudulent” time sheets:




 As outlined in the United States’ Motion in Limine No. 2, McDonald’s testimony

 about L.J.M.’s time sheets at the civil trial was almost identical:




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 ECF No. 341 at 6. McDonald’s sworn testimony about the “damage” Mau caused

 MAI, then repurposed in his declaration for Mau’s felony information, could not

 be the result of “advice of counsel”—they are his own words and (false)

 calculations.3

       McDonald is invoking “advice of counsel” in a manner that the law does not

 recognize. The Court should prohibit McDonald from invoking the defense,

 including suggesting in opening that the involvement of an attorney as a matter of

 law negates his intent to commit the charged offenses. See United States v.

 Holmes, No. 18-CR-00258-EJD-1, 2021 WL 2044470, at *51 (N.D. Cal. May 22,

 2021) (“Prior to invoking an advice-of-counsel defense, however, Holmes must

 establish the foundational prerequisites for the advice-of-counsel defense, namely:

 (1) waiver of the applicable attorney-client privilege, (2) demonstrating that there

 was a full disclosure to her attorney of all material facts, (3) and that she relied in

 good faith on the specific course of conduct the attorney recommended.”).

       3.     Defendant Fujii’s response suffers the same flaws as Defendant

 McDonald’s. See ECF No. 520. Like McDonald, Fujii conflates Defendant

 Tanaka’s involvement in the developing conspiracy as foundation for advice of

 counsel. Like McDonald, Fujii fails to analyze the elements required for an advice

 of counsel instruction to be warranted. Like McDonald, Fujii may claim Tanaka



 3
  McDonald testified that he made his calculations in collaboration with Defendant
 Otani and another MAI employee.
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 was responsible for his actions (such as filing the malicious police report). But that

 is a factual argument, not a legal claim warranting an advice of counsel instruction.

       4.     Defendant Otani’s joinder at ECF No. 523 further confirms the

 inapplicability of an advice of counsel instruction or defense. She points to

 Tanaka’s involvement throughout the case and announces her intent to propose a

 novel “involvement of counsel” instruction. But Tanaka’s involvement throughout

 the case proves the point: she is not a disinterested counsel from whom advice was

 sought. She was embedded in the conspiracy from the start, a necessary tool to

 achieve the conspirators’ plans to vanquish Laurel Mau through false accusations.

       As for any proposed “involvement of counsel” instruction, we do not need to

 see it to know it is argument, not law. Mere “involvement of counsel”—

 particularly where that counsel was a participant in a criminal scheme—cannot

 warrant an instruction of law as to scienter. See, e.g., Abdo v. Fitzsimmons, No. 17-

 CV-00851-TSH, 2022 WL 2276898, at *2 (N.D. Cal. June 23, 2022) (“But we

 have to be concerned if a defendant suggests he’s just going to argue that lawyers

 were involved, and he’s not planning to tell the jury that all four elements [of the

 advice-of-counsel defense] are satisfied. In that situation, we have a Rule 401

 problem that the references to attorneys may be irrelevant, and more importantly,

 we have a Rule 403 problem that the references to attorneys may confuse the jury

 and unfairly prejudice the plaintiff.”). Further, to allow an advice of counsel

 instruction or defense based simply on the mere involvement of an attorney would

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 perversely award co-conspirators by shielding them from criminal liability simply

 because an attorney was part of their criminal enterprise. That cannot be the

 standard.

       5.    Defendant Mitsunaga says the United States “suggested” that his

 defense attorneys also represent Mitsunaga & Associates, Inc. (“MAI”). ECF No.

 509 at 2. To be clear, that fact comes directly from Mitsunaga’s own trial brief

 materials at ECF Nos. 435, 435-1, and 435-2. In those materials, there is no

 question that Mitsunaga’s attorneys represented MAI. At ECF No. 435-2,

 Mitsunaga’s attorneys filed a letter identifying Mitsunaga’s lead counsel as counsel

 for MAI. ECF No. 435-2 (“Dear Nina: I am writing to you in your capacity as

 counsel for Mitsunaga and Associates, Inc.”) (emphasis added). Mitsunaga’s

 attorneys did nothing to correct that statement despite filing the letter with the

 Court. On the contrary, everything else they filed signaled the statement was true.

 First, under their own name blocks (suggesting they authored it), they submitted a

 declaration from Lois Mitsunaga, Defendant Mitsunaga’s daughter, purporting to

 “assert” MAI’s privilege. ECF No. 435-2. Second, in Mitsunaga’s trial brief,

 counsel for Mitsunaga spoke on behalf of MAI: “MAI does not waive the attorney-

 client privilege and hereby notices the Court of this potential issue should Tanaka

 choose to testify.” ECF No. 435 at 3 (emphasis added).

       These facts make clear that Mitsunaga’s defense attorneys are—or were—

 counsel for MAI (and that other defense attorneys knew this, see ECF No. 435-1).

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 Now, likely recognizing the conflict they created, Mitsunaga’s attorneys quickly

 retreat from these facts, “clarifying” for the Court that they do not represent Lois

 Mitsunaga or MAI. ECF No. 509 at 2. That “clarification” has not brought clarity.

       Ultimately, MAI has known about this litigation for multiple years. They

 have not intervened to assert attorney-client privilege or brief the required elements

 of such a privilege. It is extremely prejudicial for MAI to wait until trial to unveil

 their privilege plan, which is obviously in the works.4 If MAI intends to lodge a

 privilege, the Court should set an expedited timeframe for MAI to seek to

 intervene and brief all required elements of the attorney-client privilege. See

 United States v. Martin, 278 F.3d 988, 999–1000 (9th Cir. 2002), as amended on

 denial of reh’g (Mar. 13, 2002) (“The burden is on the party asserting the privilege

 to establish all the elements of the privilege.”). Defendant Tanaka should be

 required to respond. See ECF No. 435-2 (counsel for Tanaka stating to counsel for

 Mitsunaga/MAI: “We believe that, in the event that Ms. Tanaka testifies, her Sixth

 Amendment constitutional right to testify in her own defense would prevail over

 your client’s evidentiary privilege to exclude attorney-client communications.”).



 4
   Consider, for instance, the following scenario. First, after multiple weeks of trial,
 Tanaka says she wants to testify in her own defense. Second, from the back of the
 courtroom, a lawyer from MAI stands up and shouts that MAI’s CEO, Lois
 Mitsunaga—daughter of Defendant Mitsunaga, close friend of Tanaka’s, and
 author of a false statement brought to the grand jury—objects to any testimony
 from Tanaka about her work for MAI. Third, Tanaka claims her right to defend
 against herself has been infringed and requests a mistrial, with all defendants
 joining her request.
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 And all other parties desiring to contest any assertion of privilege should also be

 given the opportunity to respond. That exercise will show there is no privilege, that

 the attorney-client privilege is being abused, and that exceptions to any assertion of

 privilege, such as the crime-fraud exception, apply.

       The Court should grant the United States’ Motion in Limine No. 6. The

 defendants should be precluded from referencing, or otherwise advancing, an

 advice of counsel defense at trial. And, separately, the Court should require MAI to

 immediately seek to intervene and brief their apparent plan to lodge privileges

 from the back of the courtroom during trial.

 Dated: March 14, 2024.                         Respectfully submitted,
                                                MERRICK B. GARLAND
                                                Attorney General

                                                /s/ Colin M. McDonald
                                                MICHAEL G. WHEAT
                                                JOSEPH J.M. ORABONA
                                                JANAKI G. CHOPRA
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                       UNITED STATES DISTRICT COURT
                                  DISTRICT OF HAWAII

                                                     CR No. 22-00048-TMB-NC
  UNITED STATES OF AMERICA,
                                                     CERTIFICATE OF SERVICE
                     Plaintiff,
        v.
  KEITH MITSUYOSHI KANESHIRO (1),
  DENNIS KUNIYUKI MITSUNAGA (2),
  TERRI ANN OTANI (3),
  AARON SHUNICHI FUJII (4),
  CHAD MICHAEL MCDONALD (5),
  SHERI JEAN TANAKA (6),
                         Defendants.


 IT IS HEREBY CERTIFIED that:
       I, Colin M. McDonald, am a citizen of the United States and am at least

 eighteen years of age. My business address is 880 Front Street, Room 6293,

 San Diego, CA 92101-8893. I am not a party to the above-entitled action. I have

 caused service of the foregoing on all parties in this case by electronically filing

 the foregoing with the Clerk of the District Court using its ECF System, which

 electronically notifies them.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on March 14, 2024.             /s/ Colin M. McDonald
                                               COLIN M. MCDONALD




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